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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

GODADDY MEDIA TEMPLE INC., a                          C.A. NO.:
California Corporation,
                                                      COMPLAINT FOR BREACH OF
                          Plaintiff,                  CONTRACT, ACCOUNT STATED,
                                                      BOOK ACCOUNT, UNJUST
                   vs.                                ENRICHMENT, AND
                                                      DEMAND FOR JURY TRIAL
ANEXIO DATA CENTERS, LLC, DOES 1
through 10,

                          Defendants.

                                           COMPLAINT

        Plaintiff GODADDY MEDIA TEMPLE INC., a California Corporation, (“PLAINTIFF”)

alleges as follows against Defendant ANEXIO DATA CENTERS, LLC (“DEFENDANT” or

“ANEXIO”):

                                        NATURE OF ACTION

        1.         This action involves breaches of contractual, statutory, and common law duties

owed by DEFENDANT to PLAINTIFF (collectively “the Parties”).

        2.         On or about June 15, 2016, the Parties entered into a “MASTER SERVICES

AGREEMENT” (“MSA”). A true and correct copy of the MSA is attached hereto as Exhibit A.

Pursuant to the MSA, DEFENDANT was required to use reasonable efforts to deliver an invoice

for recurring monthly service charges at least thirty days prior to the first day of the month to

which such invoice relates. ANEXIO offered PLAINTIFF a 10% discount for services associated

with the data center in El Segundo, CA (“LA Data Center”) in exchange for advance payment for

the time period from March 1, 2019 through December 31, 2019. PLAINTIFF advanced payment

to DEFENDANT in the amount of $1,899,713 to cover services from March 1 through December

31, 2019. On June 20th, 2019, however, DEFENDANT was evicted from the LA Data Center and


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ceased to provide PLAINTIFF with services, or access to the LA Data Center pursuant to the terms

of the MSA, leaving a credit balance in the amount of $1,139,827.80 not including interest.

        3.         DEFENDANT recognized the debt it owed to PLAINTIFF for its failure to deliver

services per the Parties’ contract, and promised to offset, or otherwise provide full credit for the

balance it owes to PLAINTIFF. Ultimately, however, DEFENDANT failed to provide any offset,

credit, or refund, and failed to provide the services that it promised to PLAINTIFF.

        4.         PLAINTIFF was forced to contract with a third party to provide the same, or

substantially similar services at the same location for the same time period in 2019 without

receiving any credit for payment to DEFENDANT. In spite of repeated requests, DEFENDANT

failed to reimburse PLAINTIFF or provide any value in exchange for the amount it owes to

PLAINTIFF.

                                          THE PARTIES

        5.         At all times mentioned herein, PLAINTIFF was, and is now, an entity organized

under the laws of California with a principal place of business in Los Angeles, California.

        6.         At all times mentioned herein, DEFENDANT was, and is now, a Delaware limited

liability company, with its principal place of business at One Bank of America Plaza, 421

Fayetteville Street, Suite 1100, Raleigh, North Carolina 27601.

        7.         PLAINTIFF is unaware of the true names and capacities, whether individual,

corporate, associate or otherwise of defendants sued herein as Does 1 through 10, inclusive, and,

therefore, PLAINTIFF sues said defendants by such fictitious names and will ask leave of court to

amend this complaint to show their true names and capacities when the same have been

ascertained.




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        8.         At all times mentioned herein, defendants, and each of them, were the agents,

employees, joint venturers, joint tortfeasors and partners of each of their co-defendants and, in

doing the things herein described, were acting within the course and scope of their authority as

such agents, employees, joint venturers, joint tortfeasors and partners.

                                    JURISDICTION AND VENUE

        9.         PLAINTIFF brings its Complaint under federal diversity jurisdiction, 28 U.S.C.

§ 1332. The Parties are completely diverse in citizenship, and the amount in controversy exceeds

the jurisdictional minimum.

        10.        PLAINTIFF is a California Corporation with its principal place of business in Los

Angeles. DEFENDANT is a Delaware Limited Liability Corporation with its principal place of

business in North Carolina. Therefore complete diversity of citizenship exists.

        11.        The total amount of damages sought in this action exceeds the jurisdictional limit

as PLAINTIFF is owed a minimum of $1,139,827.80 not including interest.

        12.        Venue is proper in this Court because the Parties, by contract, specified that they

consent to the mutual and exclusive jurisdiction of the state or federal courts located in the State

of Delaware for any action brought in connection with, arising out of, or relating to the MSA.

[Exh. A ¶ 15.]

                                     GENERAL ALLEGATIONS

        13.        On or about June 15, 2016, the Parties entered into the MSA.

        14.        Pursuant to the terms of the MSA, PLAINTIFF was to pay all fees and charges for

services set forth on a “Service Order Form.” PLAINTIFF promptly paid all such fees.




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        15.        DEFENDANT invoiced PLAINTIFF in advance for services, and offered a 10%

discount for advance payment of six months of service, and a 20% discount for advance payment

of twelve months of service.

        16.        On February 27, 2018, by invoice number 40642 (“Invoice 40642”),

DEFENDANT requested advance payment from PLAINTIFF for “ORDER #6861” covering

“SERVICE PERIOD 2/1/2018-6/30/2018” in the amount of $1,087,984.44. Invoice 40642 also

included a “Pre-payment discount” of approximately 10%. A true and correct copy of Invoice

40642 is attached hereto as Exhibit B. PLAINTIFF promptly paid the entire sum of $1,087,984.44

set forth on Invoice 40642.

        17.        Similarly, by an invoice dated June 26, 2018 bearing invoice number 40929

(“Invoice 40929”), for example, DEFENDANT requested that PLAINTIFF pay $1,139,828.13 in

advance for the “SERVICE PERIOD” from “7/1/2018-12/31/2018.” The same invoice included

a Pre-Payment discount of approximately 10%. PLAINTIFF promptly paid the entire sum of

$1,139,828.13 billed by DEFENDANT to PLAINTIFF on Invoice 40929. A true and correct copy

of Invoice 40929 is attached hereto as Exhibit C.

        18.        In February of 2019, the parties discussed a similar discount in exchange for

advance payment for services to be rendered from the beginning of March through the end of 2019.

ANEXIO ultimately offered a 10% discount to PLAINTIFF for advance payment for services

associated with the LA Data Center from March 1 through the end of 2019. By an invoice dated

February 25, 2019 bearing invoice number 5139A (“Invoice #5139A”), DEFENDANT then billed

PLAINTIFF for the “SERVICE PERIOD 3/01/19 – 12/31/2019” for services associated with the

LA Data Center. A true and correct copy of invoice #5139A is attached hereto as Exhibit D. On

February 28, 2019, DEFENDANT sent a copy of Invoice #5139A to PLAINTIFF by email. A



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service order was attached to the same email. Invoice #5139A states that DEFENDANT applied

a “Pre-Payment Discount – 10%” in the amount of $211,079.25 for advance payment of services

through the end of the year. PLAINTIFF promptly advanced payment of $1,899,713.25, the total

amount set forth on Invoice #5139A, for services through the end of the year.

        19.        On subsequent invoices, including Invoice No. 5342 dated May 1, 2019 (“Invoice

5342”), DEFENDANT credited PLAINTIFF’s advanced payment as “Pre-Payment Application,”

and noted that it was applying a “Pre-Payment Invoices.” A true and correct copy of Invoice No.

5342 is attached hereto as Exhibit E.

        20.        On June 20th, 2019, ANEXIO was evicted from the LA Data Center and ceased to

provide PLAINTIFF with services or access to the LA Data Center pursuant to the terms of the

MSA, leaving a credit balance in the amount of $1,139,827.80 (“Credit Balance”) not including

interest.

        21.        On July 2, 2019 Tony Pompliano of ANEXIO wrote to PLAINTIFF and stated that

PLAINTIFF’s expectation for a refund was reasonable. Specifically, he wrote: “Your expectations

for getting a refund is reasonable, and understood. Unfortunately, I cannot just release the money

because my lender/ bank has put restrictions on my access to cash.” Mr. Pompliano then suggested

that DEFENDANT apply the Credit Balance to the amount PLAINTIFF was paying on a monthly

basis for services associated with a data center in Ashburn, Virginia. Specifically, in recognition

of the outstanding Credit Balance, DEFENDANT made the following offer to PLAINTIFF on July

2, 2019: “I want to talk through with you about how we can potentially work together to getting

money released from our bank. Not trying to get you in the middle of this, but I don’t want to

ignore your request, and share with you the current challenges. If in the short term we are unable




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to get funds released back to [PLAINTIFF] we can apply your deposit to the Ashburn, VA site

charges.”

        22.        During a phone call that took place on July 2, 2019, Tony Pompliano of ANEXIO

again suggested to PLAINTIFF that the Parties jointly petition DEFENDANT’s bank for release

of the Credit Balance owed to PLAINTIFF.

        23.        The Parties then entered into an agreement whereby PLAINTIFF was to withhold

payments for services associated with the Ashburn ACC4 data center (“Ashburn Data Center”)

and the Credit Balance would be applied towards those charges.

        24.        The Parties then reduced their agreement to a formal written instrument, but

DEFENDANT failed to execute it. When PLAINTIFF made inquiries with ANEXIO’s Tony

Pompliano in July of 2019 regarding execution of the written instrument, Mr. Pompliano

reaffirmed ANEXIO’s commitment to honor the Parties’ agreement to apply the Credit Balance to

charges associated with the Ashburn Data Center. Specifically, on July 30, 2019, ANEXIO’s Tony

Pompliano reaffirmed DEFENDANT’s commitment to honor the Parties’ agreement with respect

to the outstanding Credit Balance. Mr. Pompliano explained that “I will honor our agreement.

The bank is pulling me through knot holes about treatment of funds collected and what they think

is their collateral . . . . Again, I am going to honor the agreement - just give me a couple of days

to finalize the forbearance.”

        25.        When PLAINTIFF withheld payment in August pursuant to the Parties’ agreement,

however, DEFENDANT sent PLAINTIFF a notice of default dated August 16, 2019. Upon receipt

of DEFENDANT’s notice of default referencing the default terms under the MSA, PLAINTIFF

promptly made payment in the amount of $234,960 to avoid an interruption in services at the

Ashburn Data Center.



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          26.      On September 11, 2019, PLAINTIFF wrote to DEFENDANT providing formal

notice that all service orders for the LA Data Center were terminated. PLAINTIFF also requested

that the Credit Balance be applied to services provided in connection with the Ashburn Data

Center. The entire Credit Balance remains outstanding and is owed to PLAINTIFF. Ultimately

PLAINTIFF vacated the Ashburn Data Center on or about July 29, 2020 without receiving any

recognition for the credit balance. PLAINTIFF was required to contract with a third party, in the

meantime, to remain in the LA Data Center, and paid that third party to remain in the LA Data

Center.

                                   FIRST CAUSE OF ACTION

                                        (Breach of Contract)

          27.      PLAINTIFF re-alleges and incorporates by reference paragraphs 1 through 26 of

this complaint as though fully and completely set forth herein.

          28.      PLAINTIFF fulfilled all material terms of the Parties’ contract.     To wit,

PLAINTIFF made prompt payment of all fees and charges invoiced by DEFENDANT pursuant to

the MSA, including advance payment of the amounts set forth on Invoice #5139A. In fact,

PLAINTIFF advanced payment for all services enumerated on all service orders, and associated

with the LA Data Center for the time period from March 1, 2019 through December 31, 2019.

PLAINTIFF fulfilled all other material terms of the MSA.

          29.      As such, DEFENDANT had a duty to provide all services contracted for and

associated with the LA Data Center from March 1, 2019 through December 31, 2019 without

disruption. .




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        30.        On or about June 20, 2019, however, DEFENDANT was evicted from the LA Data

Center. DEFENDANT failed to provide PLAINTIFF with services associated with the LA Data

Center. DEFENDANT also failed to provide PLAINTIFF with access to the LA Data Center.

        31.        The Parties agreed that DEFENDANT’s failure to provide the services associated

with LA Data Center left a Credit Balance in PLAINTIFF’s favor in the amount of $1,139,827.80

not including interest.

        32.        On July 2, 2019, DEFENDANT suggested that the Parties jointly petition

DEFENDANT’s bank for release of the entire Credit Balance to PLAINTIFF.

        33.        Subsequently, the parties agreed that PLAINTIFF would withhold payment for

services associated with the Ashburn Data Center, and the Credit Balance would be applied toward

payment for those services.

        34.        Ultimately, DEFENDANT reneged on its agreement to apply the Credit Balance

toward services associated with the Ashburn Data Center.

        35.        As such, DEFENDANT breached the terms of the MSA by failing to provide

services associated with the LA Data Center from June through December 31, 2019.

DEFENDANT then breached its promise to apply the Credit Balance to the fees associated with

the Ashburn Data Center. Ultimately PLAINTIFF vacated the Ashburn Data Center on or about

July 29, 2020 without receiving any recognition for the credit balance.

        36.        PLAINTIFF is owed $1,139,827.80 for the Credit Balance associated with the LA

Data Center. Moreover, PLAINTIFF is entitled to the benefit of its bargain. DEFENDANT must,

therefore, pay the difference in the amount PLAINTIFF paid to any third party for the same, or

substantially similar services provided to Plaintiff at the LA Data Center in 2019. PLAINTIFF is

also entitled to attorneys’ fees per the terms of the MSA, or by application of equity. PLAINTIFF



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is entitled to attorneys’ fees for the additional reason that DEFENDANT acted in bad faith.

DEFENDANT’s bad faith is shown by, among other things, the fact that PLAINTIFF was forced

to bring suit to enforce legal claims that the DEFENDANT knew was valid, and indeed recognized

as valid.

                                  SECOND CAUSE OF ACTION

                                          (Account Stated)

        37.        PLAINTIFF re-alleges and incorporates by reference paragraphs 1 through 38 of

this complaint as though fully and completely set forth herein.

        38.        The Parties entered into an agreement whereby DEFENDANT promised to provide

services associated with the LA Data Center to PLAINTIFF for the time period dating from March

1, 2019 through December 31, 2019.

        39.        On or about June 20, 2019, DEFENDANT was evicted from the LA Data Center

and failed to provide the services it promised to PLAINTIFF.

        40.        The Parties then entered into discussions regarding DEFENDANT’s failure to

provide services associated with the LA Data Center.

        41.        DEFENDANT agreed that it owed PLAINTIFF $1,139,827.80, representing the

amount remaining from the advance payment that PLAINTIFF made for services associated with

the LA Data Center.

        42.        DEFENDANT recognized that it owed Plaintiff the Credit Balance, and suggested

that the Parties jointly petition DEFENDANT’s bank for release of the full Credit Balance.

        43.        Subsequently, the parties agreed that PLAINTIFF would withhold payment for

services associated with the Ashburn Data Center, and the Credit Balance would be applied toward




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payment for those services. Ultimately PLAINTIFF vacated the Ashburn Data Center on or about

July 29, 2020 without receiving any recognition for the credit balance.

        44.        While DEFENDANT recognized it owed PLAINTIFF the debt of $1,139,827.80

associated with its failure to provide services associated with the LA Data Center, it ultimately

failed to provide any credit or value for that amount. As such, PLAINTIFF is owed $1,139,827.80

and seeks to recover same by way of this Complaint, plus interest at the legal rate, costs, and

attorneys’ fees.

                                    THIRD CAUSE OF ACTION

                                           (Book Account)

        45.        PLAINTIFF re-alleges and incorporates by reference paragraphs 1 through 46 of

this Complaint as though fully and completely set forth herein.

        46.        The Parties entered into a series of agreements dating back to 2006 for services

related to the LA Data Center. In 2016, the Parties entered into the MSA.

        47.        Pursuant to the terms of the MSA, PLAINTIFF was to pay all fees and charges for

services described in a “Service Order Form.” The MSA requires that DEFENDANT use

reasonable efforts to deliver an invoice for recurring monthly service charges at least thirty (30)

days prior to the first day of the month to which such invoice relates. DEFENDANT did, in fact,

invoice PLAINTIFF in advance for services, and offered a 10% discount to PLAINTIFF for

advance payment of six months of service, and a 20% discount for advance payment of twelve

months of service.

        48.        In February of 2019, DEFENDANT offered PLAINTIFF a 10% discount for

advance payment of services from March 1, 2019 through December 31, 2019. By Invoice

#5139A, ANEXIO requested advance payment from PLAINTIFF for the “SERVICE PERIOD”



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of “3/01/19 – 12/31/2019. Invoice #5139A states that DEFENDANT applied a “Pre-Payment

Discount – 10%” in the amount of $211,079.25 for advance payment of services through the end

of the year. PLAINTIFF promptly advanced payment of the entire total stated on Invoice #5139A.

        49.        A Book Account exists in the form of a detailed statement representing the debits

and credits between the parties, and arising out of the MSA as well related service orders and

invoices.     That Book Account provides that PLAINTIFF made advanced payment of

$1,899,713.25 for services associated with the LA Data Center for the time period beginning

March 1, 2019 and running through December 31, 2019.

        50.        On or about June 20, 2019, DEFENDANT was evicted from the LA Data Center,

and failed to provide the services that PLAINTIFF paid for in advance.

        51.        Subsequently, the parties agreed that DEFENDANT owed PLAINTIFF a credit of

$1,139,827.80 for services that DEFENDANT failed to provide. As such, a Book Account exists

whereby PLAINTIFF is owed $1,139,827.80, and seeks that amount by way of its Complaint.

PLAINTIFF also seeks an award of costs, interest, and any further relief at law or equity that the

Court deems appropriate.

                                   FOURTH CAUSE OF ACTION

                                         (Unjust Enrichment)

        52.        PLAINTIFF re-alleges and incorporates by reference paragraphs 1 through 53 of

this Complaint as though fully and completely set forth herein.

        53.        Pursuant to DEFENDANT’s request, PLAINTIFF made advance payment for

services associated with the LA Data Center. Specifically, PLAINTIFF made advance payment

of $1,899,713.25 for services associated with the LA Data Center that were to be provided by

DEFENDANT from March 1, 2019 through December 31, 2019.



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        54.        On or about June 20, 2019, DEFENDANT was evicted from the LA Data Center

and subsequently failed to provide such services.

        55.        As a result of DEFENDANT’s eviction, PLAINTIFF was forced to contract with a

third party to provide the same, or substantially similar services at the same location. PLAINTIFF

was, therefore, forced to pay twice for the same services from June 20, 2019 through December

31, 2019.

        56.        DEFENDANT agreed to provide PLAINTIFF with a refund, or a credit in the

amount of $1,139,827.80 for services that DEFENDANT failed to provide. Ultimately, however,

DEFENDANT failed provide a refund, or anything of value in return for the Credit Balance.

        57.        As such, PLAINTIFF was wrongfully deprived of $1,139,827.80, and continues to

be deprived of that sum. Although DEFENDANT recognizes the wrongful nature of its conduct,

DEFENDANT has failed to compensate PLAINTIFF for the wrongful deprivation of

$1,139,827.80.

        58.        Thus, DEFENDANT was unjustifiably enriched in the amount of $1,139,827.80.

        59.        In the event there is no adequate remedy at law, PLAINTIFF therefore seeks by

way of this Complaint $1,139,827.80 from Defendant, interest at a legal rate, costs, and any other

remedy at equity that the Court deems appropriate including attorneys’ fees.

                                      PRAYER FOR RELIEF

        WHEREFORE, PLAINTIFF prays for judgment against DEFENDANTS, and each of

them, as follows:

        1.         For damages owed in law, and at equity for $1,139,827.80;




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        2.         Any and all consequential damages stemming from DEFENDANT’s breach of the

Parties’ agreements including, but not limited to, business interruption damages and the benefit of

the bargain for any and all services associated with the LA Data Center.

        3.         For interest at the legal rate;

        4.         For additional damages according to proof;

        5.         Reasonable attorneys’ fees according to proof;

        6.         Costs of suit incurred herein; and,

        7.         Such other and further relief as the court may deem just and proper.



                                      DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, PLAINTIFF demands trial by

jury in this action of all issues so triable.


 Dated: October 2, 2020                      COZEN O’CONNOR

                                               /s/ Gregory Fischer
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